Case 1:17-bk-12075         Doc 108      Filed 07/19/22 Entered 07/19/22 09:05:09                 Desc Main
                                       Document      Page 1 of 3


                                UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF OHIO
                                   WESTERN DIVISION DIVISION


 IN RE:                                                       CASE NO. 17-12075
                                                              CHAPTER 13
 MARTINO M. WILSON
                                                              JUDGE JEFFERY P. HOPKINS

          DEBTOR                                              NOTICE OF FINAL CURE PAYMENT


 Pursuant to Federal Rule of Bankruptcy Procedure 3002.1(f), the Chapter 13 Trustee, Margaret A. Burks
 files this Notice of Final Cure Payment. The amount required to cure the default in the claim listed
 below has been paid in full.

 Name of Creditor: RUSHMORE LOAN MANAGEMENT SERVICES



 Final Cure Amount

Court     Account                               Claim               Claim                  Amount
Claim # Number                                  Asserted            Allowed                Paid
   1       4348                                 $1,289.61           $1,289.61              $1,289.61
   16     4348                                  $ 902.18            $     0.00             $    0.00*
*Pursuant to Order on 3/22/2018 (doc 46), Court claim 16 is disallowed.
Total Amount Paid by Trustee                                                               $1,289.61


 Monthly Ongoing Mortgage Payment

 Mortgage is Paid:

  X Through the Chapter 13 Conduit                           Direct by the Debtor



 Within 21 days of the service of the Notice of Final Cure Payment, the creditor MUST file and serve a
 Statement as a supplement to the holder’s proof of claim on the Debtor, Debtor's Counsel and the
 Chapter 13 Trustee, pursuant to Fed.R.Bank.P.3002.1(g), indicating 1) whether it agrees that the Debtor
 has paid in full the amount required to cure the default on the claim; and 2) whether the Debtor is
 otherwise current on all payments consistent with 11 U.S.C. § 1322(b)(5).

 The statement shall itemize the required cure or post-petition amounts, if any, that the holder contends
 remain unpaid as of the date of the statement. The statement shall be filed as a supplement to the
 holder’s proof of claim and is not subject to Rule 3001(f). Failure to notify may result in sanctions.

 See attached Memorandum detailing post-petition payments if case is a Conduit.
Case 1:17-bk-12075         Doc 108      Filed 07/19/22 Entered 07/19/22 09:05:09                Desc Main
                                       Document      Page 2 of 3


                                                                                      CASE NO. 17-12075


                                      CERTIFICATE OF SERVICE

     I hereby certify that a copy of the foregoing Notice of Final Cure Payment was served electronically
 on the date of filing through the court’s ECF System on all ECF participants registered in this case at the
 email address registered with the court and

     by first class mail on July 19, 2022 addressed to:

 MARTINO M. WILSON, 6517 GREENTREE DRIVE, CINCINNATI, OH 45224


 RUSHMORE LOAN MANAGEMENT SERVICES, P.O. BOX 55004, IRVINE, CA 92619


                                                            /s/ MARGARET A BURKS, TRUSTEE
                                                                MARGARET A BURKS, TRUSTEE
                                                                CHAPTER 13 TRUSTEE
                                                                600 VINE, SUITE 2200
                                                                CINCINNATI, OH 45202
Case 1:17-bk-12075        Doc 108      Filed 07/19/22 Entered 07/19/22 09:05:09               Desc Main
                                      Document      Page 3 of 3


      CHAPTER 13 TRUSTEE'S MEMORANDUM REGARDING NOTICE OF FINAL CURE

    In addition to paying the pre-petition mortgage arrearage claim(s) totaling $1,289.61 to Rushmore
 Loan Management Services, the Trustee also paid post-petition payments as follows:


      $1,102.18 for the months of NOVEMBER 2017-JUNE 2018 subtotaling $8,817.44;


      $1,102.18 for the months of JULY 2018 subtotaling $1,102.18;


      $1,266.62 for the months of AUGUST 2018 - JUNE 2019 subtotaling $13,932.82;


      $1,210.06 for the months of JULY 2019 - JUNE 2020 subtotaling $14,520.72;


      $1,261.29 for the months of JULY 2020 - JUNE 2021 subtotaling $15,135.48;


      $1,167.32 for the months of JULY 2021 - OCTOBER 2021 subtotaling $4,669.28;


      $1,166.06 for the months of NOVEMBER 2021 - JULY 2022 subtotaling $10,494.54.

    Debtor(s) must resume the regular mortgage payment beginning with the August 2022 mortgage
 payment.
